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                 EXHIBIT D
8:22-cv-01660-AEP              Document 77-4                   Filed 07/20/23         Page 2 of 4 PageID



         From:                    Chris Wolf <cwolf@mutualmortgage.com>
        Sent:                     4/20/2022 1:53:31 PM -0500
         To:                      Kyrstin Friebis <KFriebis@waterstonemortgage.com>
         Subject:                 FW: FW: Offer for Atia
        Attachments:               1678Offer-DigiSign.pdf




          Chris Wolf
          Vice President of Mortgage Lending
          Mobile: (321) 278-9930
          Office: (386) 742-0555
          Fax:    (630) 426-2668
          900 W. Granada Blvd, Suite 4
          Ormond Beach, FL 32174
          NMLS # 1626538




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8:22-cv-01660-AEP                                          Document 77-4   Filed 07/20/23   Page 3 of 4 PageID




        Mutual of

         a
                    Omaha Mortgage,   Inc. NMLS: 1025894




        From: Daniel Zeeman <daniel.zeeman@exprealty.com>
        Sent: Wednesday, April 20, 2022 2:38 PM
        To: Kyrstin Friebis <kfriebis@mutualmortgage.com>
        Subject: Offer for Atia




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        See attached for offer letter.   Submitting to the listing agent now.

        Thank you,




 CONFIDENTIAL                                                                                           WMC000697
